  8:06-cr-00133-JFB-FG3       Doc # 39     Filed: 07/31/06     Page 1 of 2 - Page ID # 62




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )              Case No. 8:06CR133
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )                     ORDER
JOHN DAVIDSON,                                )
                                              )
                     Defendant.               )


       This case is before the court on the defendant’s Motion to Reopen Detention (#29).

The motion is granted in part and denied in part.

       After receipt of defendant’s motion, the court ordered that Pretrial Services interview

the defendant and review his detention status (#29). On July 28, 2006 the court received

a Pretrial Services report informing the court the defendant had been interviewed and a

recommendation that, based upon the defendant’s prior record, he represented a danger

to the community and a risk of nonappearance.

       After reviewing the Pretrial Services report I find the defendant’s substantial prior

criminal history makes him both a flight risk and a danger, and that no single condition or

combination of conditions will mitigate the court’s concerns. This is particularly true given

that defendant, while only 21 years of age, has prior convictions for escape, disorderly

conduct, driving while under the influence, and aggravated assault.

       IT IS ORDERED:

       1. The defendant’s Motion to Reopen Detention (#29) is granted in part and denied

in part.

       2. Defendant’s request to be interviewed by Pretrial Services is granted.
  8:06-cr-00133-JFB-FG3      Doc # 39     Filed: 07/31/06   Page 2 of 2 - Page ID # 63




      3. Defendant’s request for release or modification of the court’s May 1, 2006 Order

of Detention (#17) is denied without hearing.

      Dated this 31st day of July 2006.


                                          BY THE COURT:


                                          S/ F. A. Gossett
                                          United States Magistrate Judge




                                           -2-
